             Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 1 of 14 PageID: 5564
AO 2458 (Mod. D/NJ 12/06) Sheet 1 -Judgment in a Criminal Case




                                                          UNITED STATES DISTRICT COURT
                                                                District of New Jersey


  UNITED STATES OF AMERICA

             v.                                                             CASE NUMBER      2:16-CR-00114-WHW-1
 BERNARD GREENSPAN

            Defendant.


                                                          JUDGMENT IN A CRIMINAL CASE
                                               {For Offenses Committed On or After November 1, 1987)


            The defendant, BERNARD GREENSPAN, was represented by ALAN ELLIS Esq. & DAMIAN P. CONFORTI, Esq.


The defendant was found guilty on count(s) 1 thru 10 by a jury verdict on 3/6/2017 after a plea of not guilty. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                                   Count
 Title & Section                Nature of Offense                                             Date of Offense      Number(s)

 18:371                         CONSPIRACY TO VIOLATE THE FEDERAL ANTI-                       DOF 3/2006-4/2013)   1
                                KICKBACK STATUTE AND TRAVEL ACT AND TO
                                DEFRAUD PATIENTS OF HONEST SERVICES


 42:1320A-                      ILLEGAL REMUNERATION IN VIOLATION OF THE                      DOF 7/13/2011)-      2
 7B(B)(1 )(A), AND              FEDERAL ANTI-KICKBACK STAT UTE
 18:2

 42:1320A-                      ILLEGAL REMUNERATION IN VIOLATION OF THE                      DOF 12/14/2011       3
 7B(B)(1 )(A), AND              FEDERAL ANTI-KICKBACK STAT UTE
 18:2

 42:1320A-                      ILLEGAL REMUNERATION IN VIOLATION OF THE                      DOF 12/12/2012       4
 7B(B)(1 )(A), AND              FEDERAL ANTI-KICKBACK STATUTE
 18:2

 18:1952(A)(1)                  USE OF THE MAIL AND FACILITIES IN INTERSTATE                  8/11/2011)           5
 AND (3}, AND                   COMMERCE AND INTERSTATE.TRAVEL TO PROMOTE,
 18:2                           CARRY ON AND FACILITATE COMMERCIAL BRIBERY

 18:1952(A)(1)                  USE OF THE MAIL AND FACILITIES IN INTERSTATE                  12/7/2011}           6
 AND (3}, AND                   COMMERCE AND INTERSTATE TRAVEL TO PROMOTE,
 18:2                           CARRY ON AND FACILITATE COMMERCIAL BRIBERY

 18:1952(A)(1)                  USE OF THE MAIL AND FACILITIES IN INTERSTATE                  12/4/2012            7
 AND (3), AND                   COMMERCE AND INTERSTATE TRAVEL TO PROMOTE,
 18:2                           CARRY ON AND FACILITATE COMMERCIAL BRIBERY

 18:1343 AND                    SCHEME TO DEFRAUD PATIENTS OF HONEST                          5/18/2012)           8
 1346, AND 18:2                 SERVICES BY DEFENDANT BERNARD GREENSPAN
                                ACCEPTING CONCEALED BRIBES
              Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 2 of 14 PageID: 5565
AO 2458 (Mod. D/NJ 12/06) Sheet 1 -Judgment in a Criminal Case




 18:1343 AND                     SCHEME TO DEFRAUD PATIENTS OF HONEST                  6/14/2012                9
 1346, AND 18:2                  SERVICES BY DEFENDANT BERNARD GREENSPAN
                                 ACCEPTING CONCEALED BRIBES




 18:1343 AND                    SCHEME TO DEFRAUD PATIENTS OF HONEST                    (DOF 10/18/2012)        10
 1346, AND 18:2                 SERVICES BY DEFENDANT BERNARD GREENSPAN
                                ACCEPTING CONCEALED BRIBES



       As pronounced on June 20, 2017, the defendant is sentenced as provided in pages 2 through 8 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is ordered that the defendant must pay to the United States a special assessment of $1,000.00 for count(s) 1 thru
10, which shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this           1)----        day of June, 2017.




07661
             Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 3 of 14 PageID: 5566
AO 2458 (Mod. D/NJ 12/06) Sheet 2- Imprisonment


                                                                                      Judgment- Page 3 of 8
Defendant: BERNARD GREENSPAN
Case Number: 2:16-CR-00114-WHW-1



                                                        IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 41 months on each of counts 1 thur 7 and 41 months on each of counts 8 thru 10. All to be served concurrent with
each other.

            The Court makes the following recommendations to the Bureau of Prisons:

       Court recommends that the BOP designate a facility that will address the medical needs and condition of the
defendant.

       The defendant will surrender for service of sentence at the institution designated by the Bureau of Prisons 10:00
am on September 21,2017.




                                                          RETURN

            I have executed this Judgment as follows:




    Defendant delivered o n - - - - - - - - - - - - - T o - - - - - - - - - - - - - - - - - - -
A t - - - - - - - - - - - - - - - - - - - - - - - ' with a certified copy of this Judgment.



                                                                                United States Marshal
                                                                            By ___________________
                                                                                Deputy Marshal
             Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 4 of 14 PageID: 5567
AO 2458 (Mod. D/NJ 12/06) Sheet 3- Supervised Release


                                                                                             Judgment- Page 4 of 8
Defendant: BERNARD GREENSPAN
Case Number: 2:16-CR-00114-WHW-1



                                                        SUPERVISED RELEASE

        Upon release from imprisonment, you will be on supervised release for a term of 1 year on each count to run
concurrent with each other.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

        Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

            You must cooperate in the collection of DNA as directed by the probation officer

        If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release and must comply with the following special conditions:

            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

            NEW DEBT RESTRICTIONS

            You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
            monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
            must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
            obligation or otherwise has the expressed approval of the Court.
              Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 5 of 14 PageID: 5568
AO 2458 (Mod. D/NJ 12/06) Sheet 3a- Supervised Release


                                                                                             Judgment- Page 5 of 8
Defendant: BERNARD GREENSPAN
Case Number: 2:16-CR-00114-WHW-1



                                                STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
   how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
   permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
   living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
   the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
   the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
   (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
   has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
   the permission of the probation officer.

9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e ..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
                   Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 6 of 14 PageID: 5569
     AO 2458 (Mod. D/NJ 12/06) Sheet 3a -Supervised Release


                                                                                                               Judgment- Page 6 of 8
     Defendant: BERNARD GREENSPAN
     Case Number: 2:16-CR-00114-WHW-1



                                                     STANDARD CONDITIONS OF SUPERVISION

    13) You must follow the instructions of the probation officer related to the conditions of supervision.




1
                                                              For Official Use Only--- U.S. Probation Office
~---------------------------------------------------------------------------------
      Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
   or (2) extend the term of supervision and/or modify the conditions of supervision.

        These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

       You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
     associate Probation Officers.

                                         (Signed)·------------------------=------
                                                 Defendant               Date



                                                              U.S. Probation Officer/Designated Witness                       Date
               Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 7 of 14 PageID: 5570

AO 2458 (Mod. D/NJ 12/06) Sheet 5- Fine


                                                                                             Judgment - Page 7 of 8
Defendant: BERNARD GREENSPAN
Case Number: 2:16-CR-00114-WHW-1



                                                                   FINE
            The defendant shall pay a fine of $125,000.00.

        This fine, plus any interest pursuant to 18 U.S.C. § 3612(f)(1 ), is due immediately and shall be paid in full within 90
days of sentencing.

         This amount is the total of the fines imposed on individual counts, as follows: Total fine of $125,000.00 consisting
of a fine of $12,500 on each of counts 1 thru 10.

        The Court determines that the defendant does not have the ability to pay interest and therefore waives the interest
requirement pursuant to 18 U.S.C. § 3612(f)(3).




       If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally
imposed. See 18 U.S.C. § 3614.

        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
                 Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 8 of 14 PageID: 5571

AO 2458 (Mod. D/NJ 12/06) Sheet 6- Restitution and Forfeiture


                                                                                               Judgment- Page 8 of 8
Defendant: BERNARD GREENSPAN
Case Number: 2:16-CR-00114-WHW-1



                                                                RESTITUTION AND FORFEITURE


                                                                       FORFEITURE

            The defendant is ordered to forfeit the following property to the United States:

                   SEE ATTACHED: ORDER OF FORFEITURE
                         (MONEY JUDGMENT)




        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 9 of 14 PageID: 5572




2016R00006/DAW/JNM/BAW/ms


                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       Hon. William H. Walls, U.S.D.J.

                   v.                          Crim. No. 16-114

BERNARD GREENSPAN,                             ORDER OF FORFEITURE
                                               (MONEY JUDGMENT)
            Defendant.


      WHEREAS, on or about March 8, 2016, an Indictment (the "Indictment")

was filed against defendant Bernard Greenspan charging him in 10 counts with

conspiracy (A) to bribe physicians, contrary to (i) 42 U.S.C. § 1320a-7b(b)(2)(A)

(Anti-Kickback Statute), and (ii) 18 U.S.C. § 1952(a)(1) and (a)(3) and N.J.S.A.

§ 2C:21-10 (Travel Act (New Jersey commercial bribery statute)); and (B) to

defraud patients of honest services, contrary to 18 U.S.C. §§ 1343 and 1346,

all in violation of 18 U.S.C. § 371 (Count One); three substantive violations of

42 U.S.C. § 1320a-7b(b)(2)(A) (Anti-Kickback Statute) (Counts Two Through

Four); three substantive violations of 18 U.S.C. § 1952(a)(1) and (a)(3) (New

Jersey commercial bribery; Travel Act) (Counts Five Through Seven); and

engaging in a scheme to defraud patients of honest services, in violation of 18

U.S.C. §§ 1343 and 1346 (Counts Eight through Ten);

      WHEREAS, the Indictment contained notice of the Government's intent

to seek forfeiture of all proceeds of the offenses charged in Counts One through

Ten of the Indictment as part of the defendant's sentence;
·,
     Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 10 of 14 PageID: 5573




           WHEREAS, on or about March 7, 2017, a jury sitting in the District of

     New Jersey found defendant Bernard Greenspan guilty of all counts of the

     ·Indictment;

           WHEREAS, as a result of the special verdict of the jury finding that the

     defendant conspired to violate the Anti-Kickback Statute and the Travel Act

     (New Jersey commercial bribery statute), and to defraud patients of honest

     services, as charged in Count One of the Indictment, the defendant shall forfeit

     to the United States:

              (a)   pursuant to 18 U.S.C. § 982(a)(7), all property, real and

                    personal, obtained by the defendant, that constitutes or is

                    derived, directly or indirectly, from gross proceeds traceable to

                    the commission of the conspiracy to violate the Anti-Kickback

                    Statute, 42 U.S.C. § 1320a-7b(b)(2)(A);

              (b)   pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), all

                    property, real and personal, obtained by the defendant, which

                    constitutes or is derived from proceeds traceable to the

                    commission of the conspiracy to violate the Travel Act, 18 U.S.C.

                    § 1952(a)(1) and (3) (New Jersey commercial bribery); and

              (c)   pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), all

                    property, real and personal, obtained by the defendant, which

                    constitutes or is derived from proceeds traceable to the

                    commission of the conspiracy to defraud patients of honest

                    services, in violation of 18 U.S.C. §§ 1343 and 1346; and


                                            -2-
     Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 11 of 14 PageID: 5574
''




           WHEREAS, as a result of his conviction of the violations of the Anti-

     Kickback Statute alleged in Counts Two through Four of the Indictment,

     pursuant to 18 U.S.C. § 982(a)(7), the defendant shall forfeit to the United

     States), all property, real and personal, obtained by the defendant, that

     constitutes or is derived, directly or indirectly, from gross proceeds traceable to

     the commission of such offenses.

           IT IS ORDERED, ADJUDGED AND DECREED THAT:

           1.    Pursuant to 18 U.S.C. § 982(a)(7), 18 U.S.C. § 981(a)(1)(C) and 28

     U.S.C. § 2461, and Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure,

     based upon the evidence presented at trial, and the submissions of the parties,

     some of which is referenced in Exhibit A to this Order, and for the reasons

     stated on the record, the Court finds that the Government has proven by a

     preponderance of the evidence that the defendant Bernard Greenspan is liable

     for a personal money judgment in the amount of $203,693.15, representing the

     amount of proceeds obtained by defendant Bernard Greenspan as a result the

     commission of the conspiracy offense charged in Count One of the Indictment.

           2.    Pursuant to 18 U.S.C. § 982(a)(7), 18 U.S.C. § 981(a)(l)(C) and 28

     U.S.C. § 2461, and Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure,

     based upon the evidence presented at trial, and the submissions of the parties,

     some of which is referenced in Exhibit A to this Order, and for the reasons

     stated on the record, the Court finds that the Government has proven by a

     preponderance of the evidence that the defendant Bernard Greenspan is liable

     for a personal money judgment in the amounts set forth below, which


                                             -3-
Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 12 of 14 PageID: 5575




represent the amount of proceeds obtained by the defendant Bernard

Greenspan as a result the commission of the violations of the Anti-Kickback

Statute charged in Counts Two, Three, and Four, respectively, of the

Indictment:

              Count        Amount of Money Judgment

              Two          $ 1,500.00

              Three        $   964.88

              Four         $ 1,994.34

      3.      A criminal forfeiture money judgment ("Money Judgment") in the

amounts set forth below is hereby entered against the defendant as to the

indicated count of the Indictment (however, the United States may collect no

more than $203,693.15):

              Count       Amount of Money Judgment

              One         $203,693.15

              Two         $    1,500.00

              Three       $      964.88

              Four        $    1,994.34

      4.      Upon entry of this Order of Forfeiture, this Order is final as to the

defendant Bernard Greenspan, shall be deemed part of the sentence of the

defendant, and shall be included in the judgment of conviction therewith.

      5.      All payments on the Money Judgment shall be made by postal

money order, bank or certified check, made payable, in this instance to the

United States Marshals Service, and delivered by mail to the United States


                                          -4-
Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 13 of 14 PageID: 5576




Attorney's Office, District of New Jersey, Attn: Asset Forfeiture and Money

Laundering Unit, 970 Broad Street, 7th Floor, Newark, New Jersey 07102, and

shall indicate the defendant's name and case number on the face of the check.

      6.     Pursuant to 21 U.S.C. § 853, the Government is authorized to

deposit all payments on the Money Judgment in the Department of Justice

Assets Forfeiture Fund, and the United States shall have clear title to such

forfeited property.

      7.     Pursuant to Federal Rule of Criminal Procedure 32.2(b)(3), 21

U.S.C. § 853(m), 28 U.S.C. § 3001-3105, and any other applicable provision of

federal or state law, upon entry of this Order, the United States Attorney's

Office is authorized to conduct any discovery needed to identify, locate, or

dispose of property to satisfy the Money Judgment, including depositions,

interrogatories, requests for production of documents, and the issuance of

subpoenas.

      8.     The Clerk of the Court is directed to enter a money judgment

against the defendant in favor of the United States in the amounts listed in

paragraph 3 above; however, the United States may collect no more than

$203,693.15.

      9.     This Court shall retain jurisdiction to enforce this Order and to

amend it as necessary.

      ORDERED     thi,:J;J day of June, 20

                                      United States District Judge

                                        -5-
      Case 2:16-cr-00114-KM Document 132 Filed 06/20/17 Page 14 of 14 PageID: 5577

                                                               EXHIBIT A




              A                B                              c                    D                   E             F
 1          Count          Amount        Description                              Date            Indictment       PSR
 2             I           $122,351.90   rent bribes                          3/2006-8/2010    10(a)           85,88
 3             I            $33,882.03   service agreement bribes             3/2006-8/201 0   10(b)           86,88
 4             I            $44,500.00   Consulting Agreement bribes          11/2010-4/2013   10(d)           87-88
 5             I               $964.88   holiday party                          12/14/2011     11(k)           89, 93(h)
 6             I             $1,994.34   holiday party                          12/12/2012     11(ff)          89
t--
 7     Total for Count I   $203,693.15
r-s
 9            II             $1,500.00 Depost of Consulting Agreement check    7/13/2011        11(b)          3, 93(b)
 10           III             $964.88 hoi iday party                           12/14/2011       11(k)          89, 93(h)

 11           IV             $1,994.34 hoi iday party                          12/12/2012       11(ff)         89, 93(h)-(k)
